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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DENTONS US LLP,
Plaintiff,
Vv. Case No. 1:14-ev-1312-RDM.

THE REPUBLIC OF GUINEA et al.,

Defendants.

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REPLY TO PLAINTIFF’S OPPOSITION TO
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

DEFENDANTS’ EXHIBIT 1
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Golkow Litigation Services

Confidential - Kerfalla Yansané, Ph.D.

 

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

Case No. 1:14-cv-1312-RDM

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DENTONS US LLP,

Plaintiff,
Vv.
THE REPUBLIC OF GUINEA, et al,
Defendants.

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THE REPUBLIC OF GUINEA, et al.
Counterclaim and
Third Party Plaintiffs,
Vv.
DENTONS US LLP, et al,
Counterclaim and
Third Party Defendants.

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CONFIDENTIAL
VIDEOTAPED DEPOSITION OF KERFALLA YANSANE, Ph.D.
Monday, September 18th, 2017
10:54 a.m.

Held At:
Orrick, Herrington & Sutcliffe LLP
31, avenue Pierre ler de Serbie
Paris-Cedex 16

REPORTED BY:
Maureen O'Connor Pollard, RMR, CLR, CSR

 

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1 my question.

2 A. I saw them, yes.

3 Q. You were aware that Dentons continued
4 to provide services for the ministry of mines?
5 A. I saw, and I didn't agree with the

6 minister of mine.

7 Q. And you continued to participate in

8 meetings with Dentons in which Dentons was

9 providing services to Guinea; correct?

10 A. I was told not to worry because they
11 have a mean of payment. I said, okay, that's
12 fine.

13 Q. Well, did you ask what the other means
14 of payment was?

15 A. No.

16 Q. Did you inquire as to what was the

17 contractual basis for the other means of

18 payment?

19 A. The letter I saw a letter on was

20 indicated that the payment may be paid by the

 

21 sponsor of the project.

22 Q. What letter was that?
23 A. That was late sometime in 2015.
24 Q. In 2012 when you're participating in

 

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1 meetings with Dentons and Rio Tinto, did you ask
2 the ministry of mines to see the contract that

3 allowed Dentons to continue?

4 A. No, no. He said there was no

5 contract, that they're just assisting us until

6 we launch the tender. I said okay.

7 Q. It was your -- it's your testimony

8 that there was no contract whatsoever between --

9 A. No.

10 Q. -- Guinea and Dentons?

11 A. Yes.

12 Q. That is your understanding?

13 A. For me, there was no contract between

14 Dentons and Guinea, because the minister of

15 finance is the only person to commit the

16 government contractually and financially. When
17 I was told by the minister of mining that I

18 didn't have to worry, they're just assisting the
19 minister of mine until we launch the tender, so
20 I was okay.

21 Q. Did you ask him for what was the basis
22 for the assistance during that time period?

23 A. He said I didn't have to worry, they

24 were assisting to ministry until we launch the

 

 

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new tender. And as a matter of fact, Denton
participated in the tender with the World Bank.

Q. Did you speak with anyone at Dentons
and explain to them, just to be clear, my view
is that you can't get paid for any of this work
that you're doing?

A. My understanding was that it may be
pro bono, because I can't understand that a law
firm is working without a contract and expecting
to be paid. So when I talked to the minister of
mine, he said, "don't worry, he is just
assisting us until we launch the tender." I
said maybe it is pro bono, and let's go.

Q. It was your -- your testimony today is
that you just assumed Dentons US was doing all
this work pro bono?

A. Yes, because --

Did you have any conversation with --

A. -- as a lawyer, I cannot understand
that as a lawyer they could work in a country
without a formal contract with the government.

Q. Did you have any conversations with
anyone at Dentons US in which you said, hey,

thank you for all this pro bono work you're

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as possible?

A. Yeah.

MS. JONES: Objection. Beyond the
scope.

A. That was the purpose of the assignment
the World Bank gave to the team of
Taylor-DeJongh, and that was the purpose of
launching a tender to recruit new advisors for
Guinea for long-term advice, not short-term.
Because the first one was very short-term, May
to July, 2012.

Q. When was the second tender launched?

A. At the end of the year of 2012, and
then we were supposed to recruit someone in
2015.

Q. What was your understanding of what
services Guinea was to receive from August of
2012 to December of 2012?

A. In principle, it was agreed that we
should wait until we launched the tender to
recruit an advisor for long-term, because the
World Bank could not continue to fund advisor
for short-term, because they already did for

three months, then we had to wait. And that was

 

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1 the understanding between all parties, that we

2 should organize a new tender.

3 Q. The new tender, you testified, was

4 launched in December of 2012 or January, 2013?

5 A. Yes, somewhere that.

6 Q. During that time period from August of

7 2012 to December of 2012, what was your

8 understanding of how -- scratch that.

9 What was your under --

10 A. I need your question.

11 Q. I need to remember my question. One
12 second.

13 What was your understanding of what

14 services Guinea was to receive from August of
15 2012 to December of 2012 with respect to advice
16 on the investment framework agreement?

17 MS. JONES: Objection.

18 A. I was not privy to the way Denton was
19 discussing with the minister of mine, but all
20 what we wanted is to make sure that we could be
21 able to respond to the questions of Rio Tinto.
22 Unfortunately, at the end of the day, we

23 couldn't. That's why we had to continue with

 

24 other lawyers. And there was no progress

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Q. So you don't know, sitting here today,
whether or not the ministry of mines was

authorized to --

A. I told you --

Q. Can you please let me finish my
question?

A. Yeah, please.

Q. You don't know, sitting here today,

whether or not the ministry of mines was
authorized to retain Dentons from August of 2012
to December?

MS. JONES: Objection.

A. He was not authorized, madam. He was
not authorized.

MS. JONES: You may answer.

A. He was not authorized by the
government, legally speaking, to have a
contract, contract with Denton, because all the
contracts in Guinea have to go through the
minister of finance for tender or special
consultation. That never happened. We didn't
have any tender to recruit Denton, we didn't
have any special agreement with the minister of

finance to recruit Dentons, so...

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so I didn't have to worry, because the financial
sources from the government were not committed,
so -- and my mandate is to take care of the
financial resources of the government. As long
as this financial resource is not committed,
then --

Q. Okay. And I'm asking you if there's a
written document anywhere in any file in Guinea
in which you have written that to the minister
of mines.

A. I didn't write any documents to the
minister, because he didn't write me a document.
If he wrote me -- normally line ministries
should send a letter to minister of finance to
ask authorization to have a contract with
somebody either for a tender or for special
consultation. This never happened.

Q. Well, you see that Dentons is doing a
lot of work at this point; correct?

A. I assumed it was pro bono, or it was
informal basis, because we're supposed to launch
a tender at the end of the year, and Denton, as
a lawyer, was supposed to understand the rules

and the relation of the country.

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Q. Okay. But do you have any e-mail or
any document or any memo or anything in writing
at the time in which you made that clear to the
ministry of mines?

MS. JONES: Objection. Asked and
answered.

A. Denton never tried to submit to me any
document to legalize, to formalize the relation,
never, never.

BY MS. REYES:

Q. So the answer --
A. And as a lawyer --
Q. So the answer to my question is no,

there is no document at the time in which you
have made this clear; correct?

A. I'm saying that Denton never tried to
formalize the relation with the minister of mine
through the minister of finance, never.

Q. Is there any written document anywhere
where you have told Dentons that their work is
not authorized, and you assume it's being done
pro bono?

A. I didn't have to talk to Denton. I

had to talk to my colleagues, and this was done.

 

 

 
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1 Q. Did Dentons US ever get paid for any
2 of their work for Guinea?

3 A. What do you mean "other work"?

4 Q. Did Dentons US get paid ever for any

5 of their work for Guinea?

7 office, I don't remember, but it was in 2015,
8 asking that they should be paid, and they said
3 that "they have already received 2 million."
10 said, "oh, 2 million." I said, "this is

11 enough," because the tender was less than 1

12 million. So I said, "if receive 2 million, th
13 mean that you have been paid enough for the

14 work." So...

16 of Dentons US getting paid the $2 million?

17 A. Never.

18 Q. So who authorized the $2 million

19 payment?

20 A. I don't know. And I didn't care,

21 because I knew that it was not coming from the
22 treasury.

23 Q. Where did it come from?

 

24 A. T don't know.

 

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6 A. I said to Mr. Cahn when he came to my

I

is

15 Q. Did you participate in any discussions

 
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1 Q. Are you aware --

2 A. I was asked --

3 Q. I'm sorry. Stop.

4 Are you aware that there was a

6 Guinea to Dentons?

8 were in Abu Dhabi.

13 the Central Bank?

14 A. The Central Bank has a lot of

17 public entities also, so...

19 right to authorize Central Bank to make a

| 20 payment to a third party?

21 A. T don't know where they could get

23 per se does not have the resources to pay

 

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7 A. I knew that in April, 2013 when we

9 Q. After it had already happened?
10 A. Unfortunately.
11 Q. So how -- explain the Central Bank

5 $2 million payment made from the Central Bank of

12 process to me. Who can authorize a payment from

15 institutions that may authorize them to pay the

16 treasury for the ministry of finance, but other

18 Q. Does the ministry of mines have the

22 money, but I don't see -- the ministry of mine

24 directly, unless they take from many company,

 
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Rio Tinto, or somebody else. I don't know.

Q. Does the -- well, you were the
governor of the Central Bank. Does the ministry
of mines have an account at the Central Bank?

A. Never. Never.

Q. So if money comes from the Central

Bank to another party, to a third party --

A Out of Guinea, yes.

Q. -- out of Guinea --

A Yes.

Q. -- does that have to go through the

ministry of finance?

A. Never.

Q. So who could authorize a payment from
the Central Bank?

A. The Central Bank is autonomous. The
Central Bank make payment under the instruction
they receive either from the treasury when it is
the money from treasury, or other public
entities. We have a lot of autonomous entities

in Guinea, they have their own money, they have

 

their board, and of course they do the
transaction through the bank. |

Q. So it's your testimony that the first

 

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time you learned about a $2 million payment --

A. It was 2013.

Q. -- to Dentons US was after the payment
was made?

A. Yes.

Q. Did you have any conversations with
Minister Fofana about that $2 million payment
before it was made?

A. No.

Q. Did you have any conversations with
anyone in the government of Guinea before the

$2 million payment was made?

A. Never. I was never informed that any
payment had been -- was paid, or would be paid,
never.

Q. Are you -- but you're aware today that

a payment was made from Guinea?

A. Unfortunately.

Q. You're aware today that a payment was
made from Guinea to Dentons US; correct?

A. Yes. But I never saw the document of
the payment, never.

Q. How could that payment -- I'm trying

to figure out how that payment was made. Who

 

 

 

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could authorize that payment --
(Reporter interruption because of
multiple speakers.)

Q. -- if the payment came from the
Guinean treasury?

A. Never, never, never. This is
100 percent never. Because the treasury has to
pay under the instruction of the minister of
finance, and when the minister of finance
authorize the treasury, then the treasury give
instruction to the Central Bank to pay.

Q. Does the ministry of mines have an
account within the treasury?

A. I said no already.

(Whereupon, Yasané Exhibit Number 10,
SWIFT document, Bates DENUS00613580,
with attached translation, was marked
for identification.)

BY MS. REYES:

Q. Sir, Exhibit 10 is the SWIFT for the
$2 million payment that was made in March of
2013.

A. This is the first time I see this

document.

 

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5 A. Yes.

8 it to make this $2 million payment?

10 don't have an account. We have a budget

13 instruction of the line ministries.

14 But in this case, the ministry of

16 make any payment, so I don't know how this

17 payment may have been paid.

19 Central Bank --

20 A. Yes.

22 how it works; correct?

23 A. Yeah.

 

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9 A. To the best of my recollection, we

12 budget is released by the treasury under the

1 Q. Okay. That's fine.
2 A. The first time.
3 Q. Do you see that under the client it

4 says, "Ministry of Mines and Geology of Guinea"?

6 Q. Okay. Does the ministry of mines have

7 an account with the treasury that would permit

11 according to the budget of the country, and the

15 mines never gave instruction to the treasury to

18 Q. Well, you're a former governor of the

21 Q. -- go you have some understanding of

24 Q. There would need be some authorization

 

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for a $2 million payment to get made, I take it?

A. Yes. And I'm really mesmerized by the
way this is. Because the ministry of mine don't
give instruction to the Central Bank to pay.

Q. Okay.

A. You see, the instruction on the name
of the government should be made by the minister
of finance through the treasury.

Q. So clearly, there's some mechanism
you're not aware for which the ministry of
mines --

MS. JONES: Objection.

MS. REYES: Can we please let me
finish my questions before we object?

MS. JONES: I though you had finished.
I apologize, Ms. Reyes. Please restate your
question.
BY MS. REYES:

Q. So clearly there's a mechanism that
you're not aware of by which the ministry of
mines can authorize a payment to be made by the
Central Bank?

MS. JONES: Objection.

A. I'm not informed, and I'm not aware of

 

 

 

 
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how this payment was made.
BY MS. REYES:

Q. Are you aware of whether the president
was aware of this payment when it was made?

A. I'm not aware. Like I said, I was
informed about this payment only in Abu Dhabi,
never before, and I never saw this document of
payment.

Q. Did you follow up with anyone at
Guinea after you became aware of the payment
about how it had gotten made?

A. I heard that this payment should be
reimbursed to Guinea, so that's why I was quiet,
because for me it was not a payment from the
government, it was some sort of advance payment,

and the amount should be repaid to the ministry

of mine.

Q. Who did you hear that from?

A. From the staff of the ministry of
mine.

Q. Okay. And did you ask for the

contractual basis for that reimbursement?
A. What do you mean "contractual basis

for that" --

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1 Q. Did you say, where is the agreement
2 between you and Dentons about this money only
| 3 being a reimbursement?

4 A. They told me that this was paid

5 because Denton was holding the report on

6 Simandou, and Denton was more or less

7 blackmailing them then to say that "if you pay

8 this, I'm not going to release the document,"

9 and I said "okay." But -- and they said, "don't
10 worry, the amount will be repaid somehow." I
11 said "okay."

12 Q. So you understood that this payment,
13 once you learned about it, was a payment for

14 services that Dentons had made?

15 MS. JONES: Objection.

16 A. And I think it's beyond what should
17 have been done in the framework of the tender.
18 And that's why when Mr. Cahn came to my office
19 to ask for payment, one, I told him I don't have
20 any contract with minister of finance and, two,
21 what they receive already is above the limit of
22 the tender.

23 BY MS. REYES:

24 Q. Did you go to anyone else within the

 

 

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1 government to find out how this payment had been
2 authorized or made?

3 A. No, no, no, since it didn't come from
4 the treasury. My mandate is to protect

5 resources from the treasury.

6 Q. Well, can you tell me where this

7 SWIFT, if you can understand it, shows that the
8 money came from?

9 A. Yeah, it's ministry of mine. But I

10 wonder how the ministry of mine could -- maybe
11 they receive money from someone and then they

12 hand over, this went into the Central Bank, but
13 per se, ministry of mine cannot have this amount
14 of money, they don't have an account, a bank

15 account in the Central Bank.

16 Q. So when it says that the client is

17 Ministry of Mines and Geology of Guinea, and

18 there's an account number there, do you know

19 what that account number refers to?

20 A. Maybe, you know, technically speaking,
21 they should have brought this money, or someone
22 has to put the money in an account, and then

23 this account was managed to make the payment,

 

 

| 24 so...

 

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1 CERTIFICATE
2
|
3 I, MAUREEN O'CONNOR POLLARD, RMR, CLR,

4 and Notary Public, do certify that on the 18th

5 day of September, 2017, at 10:54 o'clock, the

6 person above-named was duly sworn to testify to

7 the truth of their knowledge, and examined, and
8 such examination reduced to typewriting under my
9 direction, and is a true record of the testimony
10 given by the witness. I further certify that I

11 am neither attorney, related or employed by any

12 of the parties to this action, and that I am not
13 a relative or employee of any attorney employed

14 by the parties hereto, or financially interested
15 in the action.

16 In witness whereof, I have hereunto

 

17 set my hand this 28th day of September, 2017.
18

19

 

20 MAUREEN O'CONNOR POLLARD, NOTARY PUBLIC
21 Realtime Systems Administrator

22 CSR #149108

 

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